                                                                    ORDER: Motion GRANTED.


                     IN THE UNITED STATES DISTRICT COURT
                    FOR THE MIDDLE DISTRICT OF TENNESSEE
                                AT NASHVILLE

LESLIE SCOTT, TAL BECKER, individually            ]
and on behalf of others similarly situated        ]
                                                  ]
       PLAINTIFFS ,                               ]
                                                  ]
V.                                                ]      CASE NO: 3:21-00401
                                                  ]
RVSHARE, LLC                                      ]
                                                  ]
       DEFENDANT.

  UNOPPOSED MOTION TO EXTEND TIME TO RESPOND TO MOTION TO STAY
         PROCEEDINGS AND COMPEL INDIVIDUAL ARBITRATION

       The Plaintiffs, Leslie Scott and Tal Becker, by and through counsel, respectfully moves

this Court for a brief extension of time to respond to Defendant’s Motion to Stay Proceedings

and Compel Individual Arbitration. Plaintiffs response is currently due on July 26, 2021.

Plaintiffs are requesting an extension of time to August 16, 2021. Undersigned counsel has

conferred with Defendant’s counsel, who has no opposition to an extension to August 16, 2021.

Plaintiff respectfully requests that the Court grant this Unopposed Motion to respond to the

pending Motion.


                                                  Respectfully submitted

                                                  s/James C. Bradshaw III
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